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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Philip McFadden, et al.
                                    Plaintiff,
v.                                                       Case No.: 1:23−cv−06151
                                                         Honorable John F. Kness
Fenix Internet, LLC, et al.
                                    Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 30, 2025:


        MINUTE entry before the Honorable John F. Kness: This matter is set for a
continued Rule 44.1 Foreign Law Testimony hearing for 7/17/2025 at 9:30 A.M. Mailed
notice. (exr, )




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